Case 3:14-cr-01236-KC Document188 Filed 12/06/24. Page 1lof1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

UNITED STATES OF AMERICA, §
§ / ¢
Plaintiff, §
§ NO. EP-14-CR-01236-KC(2)
v. §
§
ENRIQUE ALFREDO TAVARES, §
a.k.a.: Mask, §
§
Defendant.

MOTION TO REVOKE SUPERVISED RELEASE

Comes now the United States of America, by and through the United States Attorney for
the Western District of Texas, and moves the Court to revoke the supervised release of ENRIQUE
ALFREDO TAVARES, a.k.a.: Mask, in the above entitled and numbered cause. In support of
this motion the United States of America alleges violations of Supervised Release as set forth in
U.S. Probation Form 12C, Petition for Warrant or Summons for Offender Under Supervision, filed
in the above-entitled and numbered cause.

WHEREFORE, premises considered, the United States respectfully prays that Defendant's
supervised release be revoked.

Respectfully submitted,

JAIME ESPARZA
UNITED STATES ATTORNEY

By: te eder: G- Gite ;
STEPHEN G/GARCIA

Assistant U.S. Attorney
Texas Bar #07646450

700 E. San Antonio, Suite 200
El Paso, Texas 79901

(915) 534-6884
